             Case 1:09-md-02013-PAC Document 57 Filed 09/30/10 Page 1 of 45
          Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 1 of 16
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UNITED STATES DISTRICT COURT                                              DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: 05/11/2021
   UNITED STATES DISTRICT COURT
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   SOUTHERN
UNITED   STATESDISTRICT
                      OF AMERICA  OF NEW YORK                 :
   -----------------------------------------------------------x
                                                              :             No. 11 Cr. 912 (JFK)
   In re FANNIE MAE 2008 SECURITIES
       -against-                                              ::            08 Civ.
                                                                           No.  15 7831
                                                                                    Civ.(PAC)
                                                                                           2222 (JFK)
   LITIGATION                                                 ::            09 MD
                                                                           No.  162013
                                                                                    Civ.(PAC)
                                                                                           4700 (JFK)
TYRIEK SKYFIELD and PRINCE WAREHAM, ::
                                                              ::               OPINION
                                                                            OPINION    & ORDER
                                                                                    & ORDER
   -----------------------------------------------------------x
                                 Defendants.                  :
------------------------------------X
APPEARANCES
   HONORABLE PAUL A. CROTTY, United States District Judge:
FOR DEFENDANT TYRIEK SKYFIELD:
     Matthew B. Larsen
     FEDERAL DEFENDERS OF NEW YORK, INC. 1
                              BACKGROUND
FOR DEFENDANT PRINCE WAREHAM:
     Barry TheD.
               earlyLeiwant
                      years of this decade saw a boom in home financing which was fueled, among
     FEDERAL DEFENDERS OF NEW YORK, INC.
   other things, by low interest rates and lax credit conditions. New lending instruments, such as
FOR THE UNITED STATES OF AMERICA:
   subprime  mortgagesJ.
     Christopher         (high credit risk loans) and Alt-A mortgages (low-documentation loans)
                             DiMase
     U.S. ATTORNEY’S OFFICE FOR THE SOUTHERN DISTRICT OF NEW YORK
   kept the boom going. Borrowers played a role too; they took on unmanageable risks on the
JOHN F. KEENAN, United States District Judge:
   assumption that the market would continue to rise and that refinancing options would always be
     Before the Court are motions by Defendants-Petitioners
   available in the future. Lending discipline was lacking in the system. Mortgage originators did
Tyriek Skyfield and Prince Wareham to vacate, set aside, or
   not hold these high-risk mortgage loans. Rather than carry the rising risk on their books, the
correct their sentences pursuant to 28 U.S.C. § 2255. For the
   originators sold their loans into the secondary mortgage market, often as securitized packages
reasons set forth below, both motions are DENIED.
   known as mortgage-backed securities (“MBSs”). MBS markets grew almost exponentially.
     I. Background
           But then the housing bubble burst. In 2006, the demand for housing dropped abruptly
     On January 8, 2013, Skyfield, Wareham, and seven others were
   and home prices began to fall. In light of the changing housing market, banks modified their
charged with a series of federal offenses for their participation
   lending practices and became unwilling to refinance home mortgages without refinancing.
in a violent armed robbery crew that primarily targeted drug

dealers
   1
        in the Bronx, New York.                          As relevant here, Skyfield and
      Unless otherwise indicated, all references cited as “(¶ _)” or to the “Complaint” are to the Amended Complaint,
     dated June 22, 2009. For purposes of this Motion, all allegations in the Amended Complaint are taken as true.
Wareham were charged with one count of conspiracy to commit Hobbs

                                                              1
                                                        1
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 2 of 16



Act robbery, in violation of 18 U.S.C. § 1951 (“Count One”); one

count of attempted Hobbs Act robbery and aiding and abetting the

same, in violation of 18 U.S.C. §§ 1951 and 2 (“Count Five”); and

one count of carrying and using a firearm during and in relation

to the attempted Hobbs Act robbery charged in Count Five and

aiding and abetting the same, in violation of 18 U.S.C.

§§ 924(c)(1)(A)(iii) and 2 (“Count Six”).       Counts Five and Six

stemmed from Skyfield’s, Wareham’s, and others’ home invasion and

armed robbery of a suspected marijuana dealer in the Bronx in or

about June 2010, during which one of Skyfield’s and Wareham’s

accomplices discharged a handgun while attempting to forcibly

enter the home.

     On September 17, 2013, Skyfield and Wareham each pleaded

guilty, pursuant to plea agreements, to Count Six.         During

Skyfield’s plea allocution, he testified under oath that:

     DEFENDANT SKYFIELD: In June of 2010 I purchased—
     THE COURT: Little slower.
     DEFENDANT SKYFIELD: In June—
     THE COURT: June 2010, go ahead.
     DEFENDANT SKYFIELD: I participated in a robbery in the
     Bronx.   During and in furtherance of the robbery a
     handgun was fired.
     THE COURT:    Okay.    Did you know it was wrong to
     participate in a robbery?
     DEFENDANT SKYFIELD: Yeah, I knew it was wrong.

(Joint Plea Tr. at 21:15–24, ECF No. 122.)        At that same hearing,

Wareham testified under oath that:

     DEFENDANT WAREHAM:    In June 2010—


                                    2
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 3 of 16



     THE COURT: Little louder.
     DEFENDANT WAREHAM: In June 2010, I agreed with others
     to attempt to rob a marijuana dealer. During the attempt
     one of the other participants brandished a handgun.
     THE COURT: And was that up in the Bronx?
     DEFENDANT WAREHAM: Yes.
     THE COURT: And you knew it was wrong, is that right, to
     participate in that?
     DEFENDANT WAREHAM: Yes, your Honor.

(Id. at 25:9–18.)

     On January 30, 2014, the Court sentenced Skyfield to a 120-

month term of incarceration—the mandatory minimum applicable to

his offense and the stipulated Guidelines sentence set forth in

Skyfield’s plea agreement to which the parties agreed would

constitute a reasonable sentence, see Ex. B to Gov’t’s Opp’n, ECF

No. 226, at ECF Pages 35–36—to be followed by three years of

supervised release, and granted the Government’s motion to

dismiss all remaining open counts against Skyfield, including

Counts One and Five.    (Skyfield’s Sent. Tr. at 5:23–7:14; 11:19–

23, ECF No. 156.)   Later that same day, the Court sentenced

Wareham to an 84-month term of incarceration—the mandatory

minimum applicable to him—also to be followed by three years’

supervised release and, as with Skyfield, granted the

Government’s motion to dismiss all remaining open counts,

including Counts One and Five.     (Wareham’s Sent. Tr. at 7:5–24;

10:1–4, ECF No. 154.)    Neither Skyfield nor Wareham appealed his

conviction or sentence.



                                    3
        Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 4 of 16



            A.   Skyfield’s Habeas Petition

     On March 13, 2015, Skyfield filed a pro se motion to vacate

his conviction for ineffective assistance of counsel.             (ECF No.

202.)    The Court ordered Skyfield’s trial counsel to provide

sworn testimony and set a briefing schedule for Skyfield’s

motion.    (ECF No. 205.)     On June 2, 2015, Skyfield’s trial

counsel filed the requested affidavit, and on June 12, 2015, the

Government opposed Skyfield’s petition as substantively meritless

under Strickland v. Washington, 466 U.S. 668 (1984) (setting

forth a two-part inquiry for claims of ineffective assistance of

counsel).     (ECF Nos. 220, 226.)

     Following a pro se letter request by Skyfield, on April 20,

2016, the Court appointed the Federal Defenders of New York, Inc.

to examine whether Skyfield qualified for habeas relief in light

of Johnson v. United States, 576 U.S. 591 (2015), which held the

so-called “residual clause” of the Armed Career Criminal Act, 18

U.S.C. § 924(e), to be unconstitutionally vague.            (ECF No. 255.)

On June 22, 2016, the Court granted Skyfield’s subsequent motion

(through his appointed counsel) to amend his habeas petition to

include claims arising under Johnson, and on October 26, 2017, it

granted Skyfield’s subsequent request to stay consideration of

his habeas petition pending the disposition of certain appellate-

level cases examining the constitutionality of § 924(c).             (ECF

Nos. 275, 303.)


                                       4
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 5 of 16



     On June 3, 2020, the Court ordered the Government to explain

whether the stay should be lifted.      (ECF No. 327.)     Six days

later, Skyfield (through his appointed counsel) filed a

memorandum of law arguing that his conviction and sentence should

be vacated because attempted Hobbs Act robbery cannot be deemed a

“crime of violence” following the Supreme Court’s decision in

United States v. Davis, --- U.S. ---, 139 S. Ct. 2319 (2019),

which ruled that the residual clause of § 924(c) was

unconstitutionally vague.    On June 9, 2020, the Government

requested the stay be continued to allow the Second Circuit the

opportunity to decide two fully briefed and argued appeals which

raised the question of whether attempted Hobbs Act robbery

constitutes a crime of violence under § 924(c).         (ECF No. 337.)

Skyfield opposed the Government’s request.        (ECF No. 338.)

     On June 11, 2020, October 1, 2020, and again on October 27,

2020, the Court granted the Government’s requests to continue the

stay and deferred deciding Skyfield’s request to vacate his sole

count of conviction—which would result in his immediate release—

because principles of judicial economy strongly favored allowing

the Second Circuit to first resolve whether attempted Hobbs Act

robbery constitutes a crime of violence under § 924(c).          (ECF

Nos. 339, 352, 359.)    On April 22, 2021, the Second Circuit did

just that, issuing United States v. McCoy, --- F.3d ---, No. 17-

3515, 2021 WL 1567745, at *20 (2d Cir. Apr. 22, 2021), which held


                                    5
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 6 of 16



that “Hobbs Act attempted robbery qualifies as a crime of

violence under § 924(c).”     Three days later, Skyfield (again

through his appointed counsel) filed a letter requesting the

Court continue the stay because a circuit spit exists on the

question of whether attempted Hobbs Act robbery is a crime of

violence under § 924(c) and the United States Supreme Court has

yet to weigh in on the issue.     (ECF No. 374.)

            B.   Wareham’s Habeas Petition

     On June 14 and June 20, 2016, respectively, around the time

the Court appointed counsel for Skyfield, the Federal Defenders

entered a notice of appearance on Wareham’s behalf and filed a

placeholder habeas petition challenging his § 924(c) conviction

and sentence in light of Johnson.       (ECF Nos. 268, 271.)     As with

Skyfield, and consistent with Chief Judge McMahon’s standing

order, In re Petitions Under 28 U.S.C. §§ 2255 and 2241 in Light

of Johnson v. United States, 16 Misc. 217 (S.D.N.Y. Jun. 8,

2016), the Court stayed consideration of Wareham’s newly-filed

habeas petition pending the disposition of certain appellate-

level cases considering the constitutionality of § 924(c).             (ECF

No. 309.)

     Similar to Skyfield, on June 3, 2020, the Court ordered the

Government to explain whether the stay of Wareham’s petition also

should be lifted.     (ECF No. 328.)    On June 9, 2020, and again on

October 1, 2020, the Court granted the Government’s unopposed


                                    6
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 7 of 16



requests to continue the stay of Wareham’s habeas petition to

allow the Second Circuit the opportunity to first decide whether

attempted Hobbs Act robbery constitutes a crime of violence under

§ 924(c).    (ECF Nos. 333, 353.)    As discussed above, on April 22,

2021, the Second Circuit issued McCoy, holding attempted Hobbs

Act robbery qualifies as a crime of violence under § 924(c).

     II.    Discussion

            A.   Legal Standard

     Pursuant to 28 U.S.C. § 2255, a prisoner sentenced in

federal court “may move the court which imposed the sentence to

vacate, set aside or correct the sentence” if the prisoner claims

that “the sentence was imposed in violation of the Constitution

or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was in

excess of the maximum authorized by law, or is otherwise subject

to collateral attack.” 28 U.S.C. § 2255(a).

     Skyfield and Wareham both argue that their § 924(c)

convictions must be vacated because attempted Hobbs Act robbery

cannot serve as a predicate “crime of violence” under the

statute.    Skyfield’s petition also includes his earlier filed pro

se motion which argued that he received ineffective assistance of

counsel in connection with his guilty plea, and which the Court

will construe liberally and “read ‘to raise the strongest

arguments that [it] suggest[s].’” Green v. United States, 260


                                    7
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 8 of 16



F.3d 78, 83 (2d Cir. 2001) (quoting Graham v. Henderson, 89 F.3d

75, 79 (2d Cir. 1996)).    Each ground for relief is discussed in

turn below.

          B.   Attempted Hobbs Act Robbery

     18 U.S.C. § 924(c) imposes a mandatory, consecutive sentence

for “any person who, during and in relation to any crime of

violence . . . uses or carries a firearm, or who, in furtherance

of any such crime, possesses a firearm.” 18 U.S.C.

§ 924(c)(1)(A).   As relevant here, § 924(c)’s so-called “elements

clause” or “force clause” defines “crime of violence” as a felony

offense that “has as an element the use, attempted use, or

threatened use of physical force against the person or property

of another.” 18 U.S.C. § 924(c)(3)(A).       As discussed above, on

April 22, 2021, the Second Circuit ruled that:

     Hobbs Act attempted robbery qualifies as a crime of
     violence under § 924(c) because an attempt to commit
     Hobbs Act robbery using force necessarily involves the
     “attempted use . . . of force” under § 924(c)(3)(A), and
     because, even though a conviction for an inchoate attempt
     to threaten is theoretically possible, [the defendants]
     have not shown that there is a “realistic probability”
     that the statute will be applied in such a manner.

McCoy, --- F.3d at ---, 2021 WL 1567745, at *20 (citing Gonzales

v. Duenas-Alvarez, 549 U.S. 183, 193 (2007)).

     Skyfield’s subsequent letter on April 25, 2021, ECF No. 374,

acknowledges that McCoy decided the question at the heart of his

§ 924(c) challenge against him, but it requests the Court refrain




                                    8
       Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 9 of 16



from deciding his petition at this time because the Fourth

Circuit has come to the opposite conclusion—i.e., that attempted

Hobbs Act robbery is not categorically a crime of violence, see

United States v. Taylor, 979 F.3d 203, 210 (4th Cir. 2020)—and

because the Government has petitioned the Supreme Court to

resolve the issue, see id., petition for cert. filed, ---

U.S.L.W. --- (U.S. Apr. 16, 2021) (No. 20-1459).           The Government

does not oppose Skyfield’s request. 1

       Notwithstanding the Government’s nonobjection to continuing

the stay, the Court will not allow it nor delay any longer

deciding Skyfield’s and Wareham’s petitions because their

§ 924(c) challenges are ripe for decision now.          As explained

above, the Second Circuit has now considered and concluded that

attempted Hobbs Act robbery qualifies as a crime of violence

under § 924(c). See McCoy, --- F.3d at ---, 2021 WL 1567745, at

*20.    Accordingly, Skyfield’s and Wareham’s petitions for habeas

relief under Johnson and its progeny are denied. See id.; see

also id. at *21 (explaining that “§ 924(c) convictions, based on


1 On May 3, 2021, Skyfield filed a letter in further support of his
request to continue the stay in which he attached an order of the
Second Circuit that granted a defendant’s unopposed motion to continue
holding briefing of a § 924(c) attempted Hobbs Act robbery challenge in
abeyance pending the Supreme Court’s review of United States v. Taylor.
(ECF No. 375.) Unlike that case, however, which involves an appeal by
the Government of a district court’s finding that attempted Hobbs Act
robbery is not a crime of violence, here, briefing on the issue is
substantially complete and the Court need not prolong deciding
Skyfield’s and Wareham’s habeas petitions in light of the Second
Circuit’s clear ruling in United States v. McCoy.


                                      9
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 10 of 16



[defendants’] guilt as aiders and abetters of the violent crimes

of Hobbs Act robbery and attempted robbery, are not error, much

less plain error”); Parkes v. United States, No. 03 Cr. 01364

(LAK), 2021 WL 1700375, at *1 (S.D.N.Y. Apr. 28, 2021) (denying

habeas relief in light of McCoy).        If, however, the law of this

Circuit changes with respect to whether attempted Hobbs Act

robbery can serve as a predicate offense for a conviction under §

924(c), Skyfield and Wareham may seek reconsideration of this

Order at that time.

          C.   Ineffective Assistance of Counsel

     Prior to raising his § 924(c) challenge, Skyfield’s original

habeas petition argued that his conviction should be vacated

because his trial counsel failed to correctly assess the facts,

laws, and circumstances of Skyfield’s case, and failed to offer

him an informed and legally correct opinion regarding the

Government’s plea offer.     As a result, Skyfield asserts, he

admitted guilt to a crime to which he was not guilty.          The

Government opposed Skyfield’s pro se habeas petition soon after

it was filed (and before his subsequent § 924(c) challenge)

arguing that Skyfield’s counsel’s representation was not

constitutionally deficient and, even if it was, Skyfield did not

suffer any prejudice as a result.        The Court agrees with the

Government.




                                    10
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 11 of 16



     “If a plea bargain has been offered, a defendant has the

right to effective assistance of counsel in considering whether

to accept it.” Lafler v. Cooper, 566 U.S. 156, 168 (2012).              “To

allege a successful ineffective assistance of counsel claim a

defendant must show that: (1) counsel’s performance was

unreasonably deficient under prevailing professional standards,

and, (2) but for counsel’s unprofessional errors, there exists a

reasonable probability that the result would have been

different”—i.e., “that there is a reasonable probability that,

but for counsel’s errors, [the defendant] would not have pleaded

guilty and would have insisted on going to trial.” United States

v. Torres, 129 F.3d 710, 716 (2d Cir. 1997) (citing Strickland,

466 U.S. at 687, 694); Hill v. Lockhart, 474 U.S. 52, 59 (1985).

Skyfield’s motion does not satisfy either prong.

     First, Skyfield does not demonstrate that his counsel’s

advice was unreasonably deficient.       Construing Skyfield’s

submission to make the strongest arguments it suggests, Skyfield

asserts that his counsel should not have allowed him to plead

guilty to a charge of attempted robbery during which a firearm

was discharged because Skyfield, personally, did not discharge

the firearm.   This argument is without merit because Skyfield’s

conviction is also predicated on his aiding and abetting the

relevant attempted robbery during which a firearm was discharged.




                                    11
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 12 of 16



Accordingly, the fact that Skyfield did not personally discharge

the firearm is of no consequence.

     In the alternative, and once again construing Skyfield’s

submission to make the strongest arguments it suggests, Skyfield

asserts that his counsel erred in allowing him to plead guilty to

a charge of aiding and abetting the above attempted robbery

because his counsel failed to investigate the facts,

circumstances, and laws of Skyfield’s case, which would have

revealed that Skyfield did not have “advance knowledge that a

confederate would use or carry a gun during the crime’s

commission,” as required by Rosemond v. United States, 572 U.S.

65, 67 (2014).   Once again, Skyfield’s argument is without merit

because his post hoc assertions are contradicted by

(1) Skyfield’s position as the person with superior knowledge of

the facts and circumstances of his case; and (2) his counsel’s

sworn statement which explains that:

     Skyfield and I discussed the elements of a 924(c) charge
     that included the discharge of a weapon.        On many
     occasions we discussed the fact that if a weapon is
     discharged during a robbery, and such discharge was
     reasonably foreseeable to a participant, that the
     particular participant in the robbery is liable for the
     discharge of the weapon even though another participant
     actually fired the weapon.    Skyfield expressed to me
     that he understood that concept.

(Aff. of Sanford N. Talkin ¶ 10, ECF No. 220.)

     Here, Skyfield, himself, is the one who would have known if

it was not reasonably foreseeable or if he did not have advance


                                    12
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 13 of 16



knowledge that his confederate would bring a gun to the attempted

robbery.   Only now does Skyfield assert that he did not have such

knowledge—but this is not sufficient to demonstrate unreasonably

deficient performance by his counsel where Skyfield’s counsel

explained the law in language Skyfield could understand, and

where Skyfield’s post-conviction assertions are wholly

inconsistent with (1) Skyfield’s plea, during which he agreed

that he told his counsel everything he knew about the case and

did not hold anything back from his counsel, Plea Tr. at 7:16–20;

and (2) Skyfield’s Presentence Investigation Report (“PSR”), to

which Skyfield did not object, Sent. Tr. at 2:13–18, which

described Skyfield’s “participat[ion] in a conspiracy to commit

armed robberies,” PSR ¶ 16 (emphasis added), as well as a second,

substantive armed robbery by Skyfield and the same confederate,

during which Skyfield and the confederate both employed handguns,

id. ¶¶ 17–19.   “An attorney is required to do no more than

‘inform a competent client of the law in a language and manner he

can understand . . . there is no duty for an attorney to insure

that his client understands all that he is told.’” United States

v. Delgado, No. 96 Cr. 126 (JFK), 2018 WL 895615, at *4 (S.D.N.Y.

Feb. 13, 2018) (quoting Martinez v. Capra, No. 13 Civ. 3657 (RA),

2016 WL 127587, at *4 (S.D.N.Y. Jan. 11, 2016), aff’d, 675 F.

App’x 46 (2d Cir. 2017)).




                                    13
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 14 of 16



     Second, Skyfield’s conclusory allegations regarding his

counsel’s purported failure to explain the elements of the crime

to which he pleaded guilty are directly contradicted by

Skyfield’s counsel’s affidavit and Skyfield’s own sworn

statements to the contrary during his plea, see Plea Tr. at 7:9–

20 (Skyfield agreeing that he had reviewed the Indictment with

his counsel; his counsel explained to him the charges and he

fully understood the charges; and Skyfield had told his counsel

everything he knew about the case); 11:7–12:3 (Skyfield agreeing

that he reviewed the plea agreement with his counsel and did not

have any questions about it); 15:4–7 (Skyfield agreeing that he

was pleading guilty because in truth and in fact he was guilty);

15:24–16:4, 19:25–21:3 (Skyfield agreeing that he signed the plea

agreement and offered to plead guilty of his own free will; he

had not been induced to offer to plead guilty by reason of any

promise, fear, pressure, or threat; and Skyfield agreeing that he

was satisfied with the representation his counsel had given him).

Accord United States v. Hernandez, 242 F.3d 110, 112 (2d Cir.

2001) (explaining that a district court may rely upon a

defendant’s sworn statements, made in open court, in finding that

a defendant has not shown deficient performance by his attorney).

Further, before now, Skyfield never once complained about the

assistance he received from his attorney, contested any of the

facts in his PSR, or suggested that he had been misled by his


                                    14
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 15 of 16



counsel into entering his plea—to the contrary, as recounted

above, Skyfield made clear that he fully understood the charges

against him and the terms of his plea agreement, and he expressed

satisfaction with his counsel’s performance.

     Finally, even if Skyfield did demonstrate that his counsel’s

representation fell below an objective standard of

reasonableness, he fails to show, as he must, “that there is a

reasonable probability that, but for [his] counsel’s errors, he

would not have pleaded guilty and would have insisted on going to

trial.” Hill, 474 U.S. at 60; see also Lafler, 566 U.S. at 163.

Here, Skyfield’s petition does not even assert that he would have

insisted on going to trial—which makes sense because Skyfield’s

counsel’s sworn statement explains that Skyfield “informed me

that he did not want to take the case to trial.”         Accordingly,

Skyfield’s petition fails to demonstrate ineffective assistance

of counsel, and his request for habeas relief must be denied. See

Hill, 474 U.S. at 60; see also Marston v. United States, No. 17

Cr. 298 (JGK), 2020 WL 6701014, at *5 (S.D.N.Y. Nov. 13, 2020)

(denying habeas relief where petitioner failed to allege a

reasonable probability that he would have proceeded to trial).

     III.   Conclusion

     For the reasons set forth above, Defendants-Petitioners

Tyriek Skyfield and Prince Wareham’s motions to vacate, set

aside, or correct their sentences are DENIED.


                                    15
     Case 1:11-cr-00912-JFK Document 376 Filed 05/11/21 Page 16 of 16



     The Court declines to issue a certificate of appealability

because neither Skyfield nor Wareham have made a “substantial

showing of the denial of a constitutional right.” 28 U.S.C.

§ 2253(c)(2); see also United States v. White, No. 16 Cr. 82

(VEC), 2020 WL 5898680, at *6 (S.D.N.Y. Oct. 5, 2020) (denying

habeas relief to petitioners challenging § 924(c) convictions).

Further, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3),

that any appeal from this Order by Skyfield or Wareham would not

be taken in good faith. See Coppedge v. United States, 369 U.S.

438, 444–45 (1962).    That being said, however, should the law of

this Circuit change with respect to whether attempted Hobbs Act

robbery constitutes a crime of violence under 18 U.S.C. § 924(c),

Skyfield and Wareham may move for reconsideration of this Order

at that time.

     The Clerk of Court is directed to terminate the motions

docketed at ECF Nos. 202, 271, 365, and 374 in criminal case 11

Cr. 912 (JFK) and close civil cases 15 Civ. 2222 (JFK) and 16

Civ. 4700 (JFK).

SO ORDERED.

Dated:   New York, New York
         May 11, 2021




                                    16
